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EXHIBIT G
Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 2 of 21

Filing # 31912687 E-Filed 09/10/2015 03:19:57 PM

“IN THE CIRCUIT COURT FOR THE
SEVENTEENTH JUDICIAL CIRCUIT. IN
“AND FOR BROWARD COUNTY,
PLORIDA

BRADLEY L-EDWAR ps and PAUL

Ge CASSELL. CASENO,: .15-000072

© Plaintifi(s). JUDGE: LYNCH

“OAL AN M DE ERSHOWT 7.

- Defendant. —

NON-PARTY JEFFREY EPSTEIN’S MOT ION TO. QUASH SUBPOE NA AND | :
oe SUPPORTING MEMORANDUM OF LAW | »

Jelliey 5 pswein “(hereinafter * 101 party” to this action: by and: through h his

undersigned counsel, |, hereby moves tO: aiash the Su dena Duces 1 vein issued by Plaintiff and

improperly Ser ed upon Epstein “As grounds t herefor. Epstein. states:

INTROD UCTION”

- ‘The. Plaintiff. B Bradley 1. Edwards ¢ ‘Fawards . "a $ os ate involved | ina a separate
and distinet laws ull from the case at hand in the Fifteenth Judivial Circuit, in and for Palm Beach
‘County. Florida. In that case, Epstein is the: Plaintiff/Counter-Defendant and Edwards is the
Defendan/Counter-Plaintiff, Epstein prevailed on Stimmary Judgment as. to both counts of
Edwards's Complaint, and a Vinal Summary Judgment was entered by the tal court’.

‘Thereafter, Epstein successfully moved for an award of costs and attomeys’ fees. The amount of

) While the distinction between “general appearance’ and “Special appearance’ has been abolished, non-party
Epstein subaiits that this is Motion is a limited, spec jal appearance. Sard v. Gibson, 340 So. 2d 481 (Fla 3d DCA
1976y. CACR.CIV. P. ELA Ob}:

’ This Order is the subject of an appeal filed by E awards: that is currently pending in the Fourth District Court of
Appeal.
|

Tonja Haddad, P.A.* SLA SE 7" Street, Fort Lauderdale, FL 33301+ 954.467, 1223

2 PILED: BROWARD COUNTY. FL HOWARD FORMAN, CLERK 9/10/2015 3:19:57 PM.¥***
Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 3 of 21

costs and atiorneys” fees.to which Epstein is entitled

isthe only issue-pending before the wial”
court “The trial court ordered the parties to attend mediation regarding the amount of costs and

-atlorneys’ fees-to which Epstein is entitled> Epstein, rather than personally attending: the

nediation: sought to designate-a rep

ereto and successfully moved the court

also counsel for Edwards in the case

ipstein with

a Subpoena’

Palm Beach, Florida. A true and correct copyof

wa er requested. by Edwards. Additionally,

Edwards is well aware that Epstein is a legal resident of the U.S. Virgin Islands. Accordingly, as

~~ explained in more detail below, the Subpoena Duces Tecut served upon: Lpstein in this matter

should’ be quashed...

MEMORANDUM OF LAW
Florida. jaw has consistently held that-parties attending court outside-of the territorial

| jurisdiction of their residence “‘are immune from service of process while attending court

and for areasonable tine before and after going to court and in returning to their homes.”

of

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Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 4 of 21

Stokes v, Bell, “ad So. 2d 146.1 46- 47 la, 1983), (quoting Rotiek vy ‘yc Chaney. 130. sano
“178 So. 112 116 (1937) (empl jaisis added).< In ‘consistently. Gpholding this: rule, the Courts

& have 1 expressed the great importance of affording this immunity to witriegses or parties: to

litigation:

As commonly sited and appliedy it [the rule] qiréceeds upon.the ground thavihe
duc administration of justice requires thatca’court shall of permit inter ‘ference
with the progress of a catise pending before it, by the service of process in other
sults. . : ss

ssident of thé: Bahamas ando>"

fordack of personal jurisdiction where the party.was a permanent:

related civilmatter in a Florida

vas served witht process while defending.tiiniself in an.

ell-foundec

Courthouse. /4 at 148.-In taking alloof the policy reasons inte considerations the

Florida Supreme Court-held that none ents are exeinpl from “service of civil process while

they are attending, | or trave ting: to or from, court proceedings outside the county of their

_Tesidence, 9 Fwitnesses or suitors.” Stokes 441 So, ad at 148 {emphasis added). Sev alse

© Contoha v. Cordoba, 393 So. 2d $89. 591 1 (Fla AIDA

“Similarly. inethe case at hand: service of civ iP process on non “resident EF ‘pstein ‘occurred
while he was attending a court proceeding fossa 5 separaic and: distinet matlerma. matter in which
ihe party effectuating the service asked {he court to spider him to attend. Avall times hereto,

Lpsteny wasa resident ofthe US? Vin irgin islands. Had E 2p Sein never + been required by the court’

3

Yonja Haddad: P.AL* 31S SE ‘78 Street, Eortl Lauderditle, | FL, 33301+.984.467_ 122
Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 5 of 21

tobe present in West Palm Beach, he would not: have physicallyBeenji-that jurisdiction. thus
preventing any service on him therein. Permitting this Subpoenato stand would be in direct:

.< contraventionof the policy reasons supporting Florida’s w. elt ‘established laws. Accordingly, the

. Subpoeita Duces Tecunt served ed pon steinin thi

ens gor Inge 578 So. ad 867, 868 (Fla. 2¢

orilere l mediation did not act as an ex xeeption to this requirement under Florida law. fel; sce alsa

Sy 48. 193 IT L A: STAT. C015 ‘As such, the Subpoena Dues’ Teeum served upon Epstein in this

matte should he quashed.

~ CONCLUSION
For the reasons stated above, and in reliance upon the case law cited: herein, non-party

Jeffrey Epstein respectfully requests that this court quagh the Subpoena Duces Tecum issued by

4

Tonja Haddad.PLA. © 315 SE 7" Street, Port Lauderdale, FL. 3330) + 954 467.1223
Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 6 of 21

~ Plaintiff and improperly served upon Epsteine and for-any farther rélief this Court>deems”

necessary and proper.”

re

Lh ERP BY CE R E IT y that a trite, anc eorrect copycat the foregoing has been ae by

eleetronc sice. to" Tack® ‘Scarola,

AE

B. Coffey, pahuire, keoffey y ECO ce@ecof fey bu Snuton. come:

Kenda

“Safra,

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Thomas Scot,

Esquire...

t Lauderdale:
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934.337, 3916 (facsimile

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Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 7 of 21

_ Filing # 29800604 B-Piled 07/17/2015 03:27:25 PM

INCE 1B 2 CIRCUIT COURT OF T. a
-SPIFTEENTH JUDICIAL CIRCUIT, IN AND
FOR. PALM BEACH COUNTY, FLORIDA 8.

CAS: NO: 30200864 #O800XXXMBAG

© JBPFREY BPSTEIN, ©

Plaintiff(s),

tts inalidel he

= netedante

” “MOTION 10 COMPEL AT

Bradley: ? “Edwards, by ead through 1 his undersigned attorneys, moves this Honorable _ ~

Comit for: the entry of an oder compelling t attendance of : effiey Epstein af the Court-ord ed

: meédiation herein, é ge

In support of this motion, “Bradley J, Pawacds would show that itis coniary 110 o the intent

of F Re civ. Procedure 170) for an. 1 individal party, to. fal to patcipate personaly. in 2

. sation abseni special cireumstances and: ‘without eve! of Court, Bpstein’ §- untimely (

Cortif cate of Aut! thority is ineffective to exouse his Pe eronal appearance.

EXHIBIPA
Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 8 of 21

wawar ds adv, Epstein

wis Case Nov: 502000CA040800XXXXMBAG
”” Motlou te Compet Attendnnee

ot HEREBY CER’ TIrY that a 2 ENE and correct opy Pot the foregoing was 6 sent i vig BS

Sioa Coimsel on the attached list, this PS

ish,
Phone: {5 } 686- 6300

Aomey for Bradley L Edwards woh

th
Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 9 of 21

Kawards adv, Epstein
ease Now 302009C A040800XXXXMBAG
Motion te Compel Attendance

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Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 10 of 21

. Filing # 29800604 IZ-Piled 07/1 7/2015 03:27:25 PM

. INT THE CIRCUIT COURT OF THE
“FIBTBENTH JUDICIAL CIRCUIT, IN AND
FOR PALM BEACH COUNY YY, FLORIDA os

CAS No.: S02005C AOHOROOXXXXMBAG oh

Plaintiftts),

SCOTTROTHSTEIN; individually, Se
. BRADLE J. EDWARDS, , inva, an

DATE: huly 20, 2015

. & 45 3 aa

supGE: Honorable Donald Hafele (Palin 26 .
x PLACE: 208 Nn Dixie Highway, West Palm. Beach, PL 3340}
ROOM he 2 RC

ore reiPiC: MAT TERS to BE HEARD:

Motion to Compel A Atendahce .
THE REBY c OBR’ TIFY that ihe undersigned has, before setting this matter for hoaring,

contacted opposing counsel in an effort to resalve or narrow théisiues raised herein.
Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 11 of 21

_ EB dwards ady, Epstetit”
ue Case No, $02009CAD40800XXXXMBAG
Notice of Hearing

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2139 Palm Beg me Boulevard

Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 12 of 21

. Edwards adv. Epsteit
aoe ‘Case No. 502009CA040B00XXXXMBAG
Notice of Hearing

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Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 13 of 21

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~ Notice of Hearing

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Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 14 of 21

Edwards ady, Epstoin oe
. Case No.: SO2009CAD40B00X AXK MBAG
* Notice of! earing

Ef you are a person with a disability who needs any accommodatio opin
“order to participate i in. this pr ocecding, yous ‘are entided,

you, to the provision of certain assistance: Plensé conta
“with Disabilities Act Coordinator, at least 7 days before your sehed futed
court appearance, or immediately upon receiving: this notification if the
time before the scheduled appearance is les

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Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 15 of 21

WN THE CIRCUIT COURT OF THE &
FIFTEENTH JUDICIAL CIRCUIT, IN AND ©
FOR PALM BEACH COUNTY, FLORIDA

CASE NO. ‘ 0800XXXXMBAG

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BY J. EDWARDS, individual lly,
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Beach County, Merida, t this: PO. BS

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C ‘opies have been es to all counsel! mn the attached counsel | list C

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Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 16 of 21

Rdwards adv, £ psteite ~
Ease No.: $02009CA040800XXXXMBAG e
“Order on Motion io Compel Attendunee fat mediation),

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Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 17 of 21

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Order on Motion to Com pel Attendance Jat mediation}

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Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 18 of 21

oy & oo : IN THE CIRCUIT COURT OF THE
. - . SEVENTEENTH JUDICIAL CIRCUIT, IN
AND FOR BROWARD C ONTY, FLORIDA ©”

~ CASE NO. ACE IS:

DRAW EY J. EDWARDS and PavL Ge
SELL, SS

Plaintiffs), 5

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SUBPOENA

: 201 3. at 10:00 am. sand to have with § you at that Ume and place ihe fol HOsiing:

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an Alan Der showity which communiiions concern!
Virginia Roberts;
k ane Doe #3; 4
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EXHIBIT B Se o
Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 19 of 21

Ss’ Edwards, Bradley. vi. Dershowhz
Case No, CACE 34-000072

Notice of Production to Non Party Subpoena
Page 2 } oS

cb Allegations that Alan Dershowite engaged in any: Sexual activity witha female
“under thé age of 18; o > * -

Whether, when and by whom Alan Dershowitz waé ‘provided a massage arranged

by you or piirstiant te your direction;

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Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 20 of 21

“Edwards, Bradley vs. Dershowitz
Case No. CACE 35-000072
Notice of Production to Neon Party ‘Subpoena
Page 3 3 aoe .

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Case 1:15-cv-07433-LAP Document 229-7 Filed 06/20/16 Page 21 of 21

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Case No. CACE 15-000072 3 5
Notice of F odiiction to Non Party Subpoena

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Searcy Denney Seatola Barnhart & Shipley, P.A.

2139 Palm Beach Lakes Boulevard”

“" West Paim Beach, Florida 33409

Phone: (561) 686-6300 |

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Attomeys for Plaintiffs

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Shoe ce:

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